 Case: 1:10-cv-00534-SAS-KLL Doc #: 13 Filed: 05/17/11 Page: 1 of 2 PAGEID #: 67


                        UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION



DOROTHY HEATON,                         :          Case No. 1:10-cv-00534
                                        :
                    Petitioner,         :          Senior Judge S. Arthur
                                        :          Spiegel
                                        :
                                        :
            vs.                         :          ORDER
                                        :
                                        :
DELANOR, KEMPER & ASSOCIATES            :
LLC,                                    :
                                        :
                    Respondent.         :


        In light of the settlement reached by the parties in this

matter,   and     for   good    cause   shown,     the     Court    hereby   GRANTS

Plaintiff’s Motion to Vacate the Order to Show Cause and Stay Case

Pending Completion of Parties’ Settlement Agreement (doc. 12). The

Court hereby RESCINDS and VACATES the Order to Show Cause issued in

this matter on May 5, 2011 (doc. 11), directing Defendant and its

managers, Frank D. Watson and Wilton K. Caver to show cause why

they should be held in contempt for failure to comply with this

Court’s   Order    of    February     22,   2011    (doc.    9)     enforcing   the

settlement      agreement      and   directing     Defendant       to   immediately

transmit to Plaintiff the sum of $6,050.00.

     To afford the parties sufficient time to consummate the

settlement agreement, the Court further STAYS all proceedings in

this matter until September 20, 2011.               On or before this date,

Plaintiff shall file the necessary notice of dismissal pursuant to

Fed. R. Civ. P. 41(a)(1) to terminate this matter from the Court’s
 Case: 1:10-cv-00534-SAS-KLL Doc #: 13 Filed: 05/17/11 Page: 2 of 2 PAGEID #: 68


active docket.      If settlement has not been consummated by this

date, Plaintiff shall so advise the Court in writing and shall move

the Court to lift the stay of proceedings.

     SO ORDERED.



Date: May 17, 2011              s/S. Arthur Spiegel
                                S. Arthur Spiegel
                                United States Senior District Judge




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